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 GREENBERG TRAURIG, LLP
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 Counsel for JPMorgan Chase Bank, N.A.

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 In re:                                                  Chapter 7

 KOSSOFF PLLC,                                           Case No. 21-10699 (DSJ)

                       Debtor.


          NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

               PLEASE TAKE NOTICE that, pursuant to Bankruptcy Rules 2002, 9007, and

9010(b), counsel for JPMorgan Chase Bank, N.A., by and through the attorneys set forth below,

hereby respectfully submits this Notice of Appearance and Demand for Service of Papers in the

above-captioned case and requests that all notices and all papers served or required to be served

in this case by the Court, the above-captioned debtor, and/or any other parties-in-interest, be

given to and served upon the following:

                                 GREENBERG TRAURIG, LLP
                                        500 Campus Drive
                                 Florham Park, New Jersey 07932
                                        Alan J. Brody, Esq.
                                    Telephone: (973) 443-3543
                                    Email: brodya@gtlaw.com

               PLEASE TAKE FURTHER NOTICE that, the foregoing request includes,

without limitation, notices and papers referred to in the Bankruptcy Rule 2002 and also includes,

without limitation, any plans of reorganization and disclosure statements and objections thereto,

notices, orders, pleadings, motions, applications, complaints, schedules of assets and liabilities,
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operating reports, answering or reply papers, memoranda and briefs in support of any of the

foregoing, pleadings, hearing dates, requests, demand, replies and any other documents brought

before this Court with respect to these proceedings, whether formal or informal, whether written

or oral, and whether transmitted or conveyed by mail, courier service, delivery service,

telephone, telegraph, telex, or otherwise.

                PLEASE TAKE FURTHER NOTICE that, this appearance and request for

notice is without prejudice to the rights, remedies and claims of JPMorgan Chase Bank, N.A.

against other entities or any objection by JPMorgan Chase Bank, N.A. that may be made to the

subject matter jurisdiction of the Court or the propriety of venue herein and shall not be deemed

or construed to submit JPMorgan Chase Bank, N.A. to the jurisdiction of the Court. All rights,

remedies and claims are hereby expressly reserved, including without limitation, the making of a

motion seeking abstention, withdrawal, dismissal or transfer of the case or a proceeding therein.

Dated: October 12, 2021

                                             GREENBERG TRAURIG, LLP

                                             By: _/s/ Alan J. Brody
                                                    Alan J. Brody, Esq.
                                             500 Campus Drive
                                             Florham Park, New Jersey 07932
                                             Telephone: (973) 443-3543
                                             Email: brodya@gtlaw.com

                                             Counsel for JPMorgan Chase Bank, N.A.




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